






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00678-CV







In re Maria Margarita Suarez







ORIGINAL PROCEEDING FROM TRAVIS COUNTY







PER CURIAM

The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).  The
petition for writ of habeas corpus is denied for want of jurisdiction.  See Tex. Gov't Code Ann.
§&nbsp;22.221(d) (West Supp. 2002).


Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Filed:   December 10, 2001

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